
PER CURIAM.
We affirm the trial court’s order granting the motion by the Federal Deposit Insurance Corporation (FDIC) as receiver for First American Bank &amp; Trust, North Palm Beach, Florida and dismissing, for lack of subject matter jurisdiction, the claims against it brought by National United Insurance Company (National). The trial court correctly concluded that under the instant facts it had no subject matter jurisdiction pursuant to 12 U.S.C. § 1821 (1989 &amp; Supp.1992), over National’s claim against FDIC, raised after the receiver was already in existence. Such claims, following exhaustion of the claims requirements, must be commenced or continued in the United States District Court for the district within which the depository institution’s principal place of business is located or in the United States District Court for the District of Columbia. 12 U.S.C. § 1821(d)(6)(A) (1989 &amp; Supp.1992).
Accordingly, the order under review is affirmed.
